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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                  Plaintiff,                                  4:12CR3041
    vs.
                                                   MEMORANDUM AND ORDER
LARRY J. MASON,
                  Defendant.



     IT IS ORDERED:

     1)    Defendant’s motion to continue, (filing no. 55), is granted.

     2)    The evidentiary hearing on defendant's motion to suppress, (filing no. 49),
           will be held before the undersigned magistrate judge on August 14, 2012 at
           2:00 p.m. in Courtroom #2, United States Courthouse, Lincoln, Nebraska.
           Two hours have been set aside for this hearing.

     July 17, 2012.

                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
